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                                    JURY QUESTIONNAIRE

       You have been selected as a potential juror in the case of United States of America v.

Roger J. Stone. As part of the jury selection process in this case, the Court asks that you

complete the attached questionnaire today, and will ask that you return next week to complete

the jury selection process. The trial is scheduled to begin November 5, 2019, and it is expected to

last approximately two (2) weeks, but could run longer. Those selected as members of the jury

will live at home and have their evenings and weekends free to themselves. The Court will not sit

on November 11, 2019. Your contact with other people will not be restricted, although

beginning now and continuing until you have been excused from further service by the Court,

you will not be permitted to talk about the case with anyone, or to read, listen to, or watch any

press coverage the case might receive.

       In this case, the government has accused the defendant of obstructing an official

proceeding, making false statements, and witness tampering. More detailed description of all of

the charges will be given at the beginning of the trial.

       The defendant in this case is Roger Stone. Mr. Stone has pleaded not guilty to all of the

charges and is presumed to be innocent of the charges. The purpose of the jury selection process

is to select jurors who have no bias toward either side of the case, can keep an open mind, and

can follow the judge’s instructions. Our goal is to select a jury that will reach a verdict based

solely on the evidence presented in the courtroom and the law as the Court instructs you. The

information which you give in your answers to this questionnaire will be used only by the Court

and the parties to select a qualified jury. The purpose of this questionnaire is to save time and

avoid jurors having to sit around and wait before they answer these or similar questions in

person. The purpose of these questions is not to ask unnecessarily about your personal matters. It
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is solely to determine whether a prospective juror can decide this criminal case fairly,

objectively, and impartially.

       To protect your identity, the only page that contains your name is the certification page,

which will remain confidential and will be shared only with court personnel and the attorneys.

After a jury has been selected, all copies of your response to this questionnaire will be returned

to the Clerk of the Court and kept in confidence, under seal, away from public viewing. This

questionnaire will NOT be made public. The attorneys are under orders to maintain the

confidentiality of any information they learn in the course of reviewing this questionnaire.

       Please answer each question below as completely and as accurately as you reasonably

can. Please remember there are no right or wrong answers, only complete and incomplete

answers. All that matters is that your answers are truthful. Your complete written answers will

save a great deal of time for the Court, for the lawyers, and for you, and your full candor will

give the Court and both parties the opportunity to select a fair and impartial jury.

       Please print your answers and please use ink only. Please fill out the entire questionnaire.

Do not leave any questions blank. If a question does not apply to you in any way, write “N/A”

rather than leaving the form blank. If you cannot answer a question because you do not

understand it, write “do not understand” in the space after the question. If you cannot answer a

question because you do not know the answer, write “do not know” in the space after the

question. If at any point in answering this questionnaire you need more space to complete your

answer, please continue your answer on the blank sheets of paper provided at the end of this

questionnaire. Be sure to indicate on the blank page the number of the question you are

answering.

       Please answer the questions by yourself and without the help of anyone else. Please do



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not discuss the questions or your answers with anyone, including your family members. It is

extremely important that the answers in this questionnaire are yours and yours alone.

       In addition, now that you are a prospective juror, you MUST follow the instructions listed

below until you have been excused from further service in this case.

       DO NOT at any time discuss this case or questionnaire with anyone, including your

spouse, significant other, friends, family members, or other members of this jury panel.

       DO NOT let anyone, including friends, family members, court personnel, parties to this

case, or persons involved in this case, talk to you about your views or any aspect of this case or

questionnaire except officially in the courtroom.

       DO NOT read anything whatsoever about this case, including on the internet or social

media, and please avoid any newspaper or social media accounts that may relate to this case.

       DO NOT post anything on the internet or blog about the case.

       DO NOT read or listen to any news accounts, whether in a newspaper, on the internet, in

social media, on television, or on the radio concerning this case or the defendant, Roger Stone.

       DO NOT communicate with anyone about this case or your potential jury service. This

includes through the use of any cell phone, computer, or any other form of electronic

communication, including through text, email, instant message or any other form of

communication. This also includes social media, including but not limited to Twitter, Facebook,

YouTube, Skype, LinkedIn, Instagram, or any other social media.

       Finally, you are expected to sign your questionnaire, and your answers will be given the

same effect as a statement given to the Court and under oath. You are sworn to give true and

complete answers to all questions.

       Thank you for your cooperation with these instructions and for your careful and honest



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responses to the questionnaire. Your forthright and full cooperation is of vital importance to the

Court and the parties.



                                              _______________________________________
                                              THE HONORABLE AMY BERMAN JACKSON
                                              United States District Judge




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Juror Number: _____________
Gender: _________________
IN COMPLETING THIS QUESTIONNAIRE, PLEASE USE THE SPACE PROVIDED IN
EACH QUESTION. IF YOU NEED MORE SPACE, PLEASE USE THE PAGES PROVIDED
AT THE END OF THE QUESTIONNAIRE, INDICATING THE NUMBER OF THE
APPLICABLE QUESTION.
TERMS:
In this Questionnaire, certain questions are asked about you, members of your immediate family,
and close personal friends. Immediate family includes parents and grandparents, children and
grandchildren, aunts and uncles and cousins you see on a regular basis and consider yourself close
to. Close personal friends means friends who are like family and who you talk to on a regular basis
and share private matters with.
PRELIMINARY MATTERS
1.      The trial in this case may last approximately two (2) weeks, and could run longer. The
typical trial day lasts from 9:00 a.m. to 5:00 p.m., with 15-minute breaks in the morning and
afternoon and a lunch break from approximately 12:30 p.m. to 1:45 p.m., Monday through
Friday. If there is any reason why you are not available for service during the period beginning
November 5, 2019, and ending approximately November 20, 2019, please explain .
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


2.     Are you able to read, write and understand the English language?
       a. Yes ___     With Difficulty___       No ___
If yes, do you feel that you are able to complete this questionnaire without another’s assistance?
       b. Yes ___    No ___




IF EITHER OF YOUR ANSWERS TO QUESTIONS 2(a) and 2(b) IS A “NO,” THEN
PLEASE COMPLETE THE CERTIFICATION ON THE LAST PAGE AND RETURN
THE QUESTIONNAIRE WITHOUT ANSWERING ANY ADDITIONAL QUESTIONS.




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3.    Do you have any moral, religious, or ethical beliefs that prevent you from sitting in
judgment of another person?
Yes ___     No ___


4.       Do you have any physical or medical condition, or are you taking any medication on a
regular basis that would make it unusually difficult for you to serve as a juror in this case
or to sit for long periods of time without a break?
Yes ___     No ___


5.      Do you have any difficulty hearing that is not corrected with a hearing aid or any
difficulty seeing that is not corrected by glasses or contact lenses?
Yes ___     No ___


6.     Do you have any personal, professional, educational or financial obligations that would
prevent you from giving your full attention or prevent you from being present in Court for the
duration of the trial?
Yes ___     No ___


                              BACKGROUND INFORMATION


7.     What is your date of birth? _______


8.     What is your marital status? (Check all that apply.)

       Single and never married______
       Married ______ (# of years:_______)
       Separated_____ (# of years:_______)
       Divorced______ (# of years:______)
       Divorced and remarried_____ (# of years: _____)
       Living with significant other (domestic partner)_____ (# of years:_____)
       Widow or Widower_____(# of years:_____)

[Note: If living with someone, please provide information about your “significant other” or
“domestic partner” on every question where information is requested about a “spouse.”]


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                           EMPLOYMENT AND EDUCATION
9.      What is your occupational status? (Check all that apply.)
Work full-time outside the home____
Work part-time outside the home____
Full-time homemaker____
Homemaker with part-time employment____
Volunteer full-time with charitable organization____
Volunteer part-time with charitable organization____
Unemployed – looking for work____
Unemployed – not looking for work____
Full-time student____
Part-time student____
Retired____
Disabled____
Other (please specify)______________________________________________


      A.     If you are a student (full or part-time), please describe your area of study:
_____________________________________________________________________________


      B.     If you are currently employed, please state your current occupation, name of your
      employer, how long you have worked for your current employer, job title, primary
      responsibilities, and number of people you supervise (if any):
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


      C.     If you are currently unemployed, retired, disabled or otherwise not employed
      outside the home, please state your last full time job, name of employer, job duties and
      how many years it has been since you were so employed:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________

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10.    Describe your spouse’s current occupation, employer, primary responsibilities and length
of employment:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


11.    Check the highest level of education attained by you and your spouse.
                                          You                    Spouse
  Grade school or less
  Some high school
  High school graduate
  Technical or business school
  Some college
  2-year college degree
  4-year college degree
  Post-graduate study – no degree
  Graduate degree


12.    If you have any education or training beyond high school, please provide the following:
College or school: _______________________________________________________
Major area(s) of study: ____________________________________________________
Degrees or certificates: ____________________________________________________




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13.    Check to indicate whether you or your spouse (significant other, domestic partner) has
taken any courses, received any training, or sought or obtained employment, in any of the
following fields:
                                                    You          Spouse
     Law/Paralegal/Legal Field
     Criminal Justice/Law Enforcement
     Security/Intelligence
     International Relations
     Journalism/Media/Communications


For any item checked, please describe the training or employment:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________

                ORGANIZATIONAL AFFILIATIONS AND ACTIVITIES
14.     Are you currently or have you ever been a member or regular participant in any civic,
social, union, professional, business, fraternal, recreation or other community groups or
charitable organizations?
Yes ___    No ___


If yes, please list the names of those groups or organizations, your role and how long a member:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________




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                                      PRIOR JURY SERVICE
15.     Have you ever served on a grand jury or jury in a trial?
Yes ___      No ___
If yes, how many times have you served as a juror in a trial? _______
If yes, have you ever served as a foreperson? ______
If yes, how many times? ____


If yes, for each trial jury service, please indicate:

                 Federal         Civil or         Charge or               Verdict
      Year       or State        Criminal         Type of Case            Reached
                                                                          Yes     No
                                                                          Yes     No
                                                                          Yes     No
                                                                          Yes     No



If you served as a grand juror, how many times did you serve as a grand juror? _______


16.    If you served as a juror, is there anything about your previous experience as a juror that
would affect your ability to serve as a juror in this case?
Yes ___      No ___
If yes, please explain:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________




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                                      MEDIA EXPOSURE
17.     What are your primary sources for local and national news and information? (Check all
that apply)
Newspapers (including online) ____ TV/cable ____ Blogs/websites ____ Social Media ____
Radio ____ News magazines ____ Word of mouth/conversations ____
Other sources (specify) _____________________ Do not follow local or national news ____
Please identify by names your primary sources of news and information:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


18.    Do you ever listen to political commentators on TV or talk radio?
Yes ___     No ___
If yes, please list the commentators you listen to:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


19.     Have you written anything for public consumption about the defendant, the House
Permanent Select Committee on Intelligence investigation into Russian interference in the 2016
presidential election, or the investigation conducted by Special Counsel Robert Mueller? For
purposes of this question, writing for public consumption includes blog posts, articles, or posts on
internet sites that are accessible to the general public.

Yes ___     No ___

If yes, please describe when and where you did so and the subject of your comments:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________




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20.      Have you or any close friend or family member ever run for or held a political office
in the federal, state, or local government? Yes ___ No ___

If yes, would anything about that person’s running for or holding political office cause you to
form an opinion about the defendant’s guilt or innocence? Yes ___       No ___

If yes, please explain:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


21.    What are your favorite TV shows?
(1)_______________________________           (2) ______________________________


22.     How closely have you followed media reports relating to investigations into Russia
interference in the 2016 election?
Very Closely ____ Somewhat Closely ____ Not too closely ____ Not at all ____


23.     To assure that the decision of jury in this case is not based upon influences outside the
courtroom, the Court instructs that you must avoid reading about the case in the newspapers or
listening to any radio or television reports concerning this case including news coverage or
communications on the internet or social media. You may not discuss or communicate about this
case with your family, friends or co-workers or anyone else including on the internet or social
media. Also, until you retire to deliberate, you may not communicate about this case with your
fellow jurors. Will you be able to follow these instructions?
Yes ___     No ___
If no, please explain:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________




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               KNOWLEDGE OF TRIAL PARTICIPANTS AND THE CASE
The charges in this case arise out events that occurred in 2016-2018, including the testimony of
Roger Stone before the House Permanent Select Intelligence Committee (HPSCI) on September
26, 2017. There is nothing wrong with having heard or read something about this case. It is
important that you truthfully and fully answer the following questions concerning your knowledge
about the case and trial participants.
24.    Please mark if you or anyone close to you has any connections to any of the following
individuals. If so, please explain below:
Defendant Roger Stone        Yes ___       No ___
United States District Judge Amy Berman Jackson              Yes ___   No ___
       Assistant United States Attorneys
Adam Jed                            Yes ___         No ___
Jonathan Kravis                     Yes ___         No ___
Michael Marando                     Yes ___         No ___
Aaron Zelinsky                      Yes ___         No ___
       Counsel for the Defendant
Robert Buschel                      Yes ___         No ___
Tara Campion                        Yes ___         No ___
Bruce Rogow                         Yes ___         No ___
Chandler Routman                    Yes ___         No ___
Grant Smith                         Yes ___         No ___


If yes, please explain:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________




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25.     A list is attached at the end of this questionnaire containing the names of people who may
either be witnesses in the case or who may be discussed during the trial. Please review the list
and identify any names that you recognize. [THE PARTIES WILL PROVIDE THIS LIST
TO THE COURT SEPARATELY]
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


26.    Have you, any family member or close personal friend been employed or had any
association or connection with Congress or a congressional committee?
Yes ___     No ___


If yes, to any of the above, please explain in detail your (his/her) employment, association or
connections:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________



27.    Have you worked or volunteered for any 2016 presidential campaign?
Yes___     No____




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28.     Have you, any family member or close personal friend participated or had any connection
with any other government agency, group, organization, committee or subcommittee, public or
private group or organization, including any media group or organization that has investigated or
made inquiry into the circumstances surrounding Russian interference in the 2016 presidential
election?
Yes ___     No ___
If yes, please explain:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________



29.     What have you read, seen or heard about the defendant, Roger Stone, and the charges in
this case, to include any statements made by or attributed to Mr. Stone?
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


30.    Have you formed or expressed any opinion about Mr. Stone, the charges in this case, or
about his guilt or innocence in this case?
Yes ___     No ___




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31.      Some of the witnesses in this case may be people who were involved in crimes
themselves. They would testify as part of a cooperation agreement with the government, or as
part of a guilty plea, or under an order from the Court giving them immunity. Is there anything
about that circumstance that will make it difficult for you to evaluate their testimony fairly and
impartially in accordance with the Court’s instructions?


Yes ___     No ___
If yes, please explain:

______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


          EMPLOYMENT WITH LAW, LAW ENFORCEMENT & THE COURTS
32.     Have you, a family member, or close friend ever worked in any aspect of the legal field as
a lawyer, prosecutor, criminal defense attorney, legal secretary, paralegal, court reporter,
investigator, law clerk, judge, etc.?
Yes ___     No ___
If yes, please explain:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________




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33.    Check to indicate whether you, a member of your family, or a close friend, have ever
applied for employment with, were employed by, or received training by any local, state, or federal
law enforcement agency, including the following:
  Department of Justice       (DOJ)                        Yes        No
  Federal Bureau of Investigation (FBI)                    Yes        No
  U.S. Attorney’s Office                                   Yes        No
  Bureau of Alcohol, Tobacco, Firearms (ATF)               Yes        No
  Internal Revenue Service (IRS)                           Yes        No
  Department of Homeland Security (DHS)                    Yes        No
  U.S. Marshall’s Service                                  Yes        No
  U.S. Immigrations & Customs Enforcement (ICE)            Yes        No
  U.S. State Department                                    Yes        No
  U.S. Bureau of Prisons (BOP)                             Yes        No
  Central Intelligence Agency (CIA)                        Yes        No
  Defense Intelligence Agency (DIA)                        Yes        No
  National Security Agency (NSA)                           Yes        No
  National Geospatial Intelligence Agency (NGA)            Yes        No
  U.S. Secret Service                                      Yes        No
  Transportation Security Administration (TSA)             Yes        No
  Federal, state or local prison or jail                   Yes        No
  Federal, state or local courthouse                       Yes        No
  Federal, state or local prosecutor’s office              Yes        No


If yes to any of the above, please explain who (in relation to you), the agency, when and for how
long, and the position or involvement:
______________________________________________________________________________
______________________________________________________________________________


34.    Do you have any opinions or beliefs concerning law enforcement in general, including the
Federal Bureau of Investigation (FBI) or the Department of Justice, including the Special
Counsel’s Office, that would affect your ability to evaluate the evidence fairly and impartially?
Yes ___     No ___
If yes, please explain:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________




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35.     In this case, the United States is represented by the U.S. Attorney’s Office for the District
of Columbia. The investigation that led to the charges in this case was conducted by Special
Counsel Robert S. Mueller, III. The U.S. Attorney’s Office is, and the Special Counsel’s Office
was, a part of the U.S. Department of Justice. Is there anything about your views of the Special
Counsel’s Office, the U.S. Attorney’s Office, or the Justice Department that would prevent or
hinder you in any way from rendering a fair and impartial verdict in this case based solely on the
evidence presented and the Court’s instructions on the law?


Yes ___     No ___
If yes, please explain why:

______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


                        EXPERIENCE WITH CRIMINAL PROCESS
36.     Have you, any family member or close friend ever been the victim of or witness
to a crime, reported or not?

Yes ___     No ___
   A. If yes, for each incident please provide the following information: type of crime, who (you
      or relationship to you), when the crime occurred, whether anyone was arrested, and if so,
      the outcome of the case:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________

   B. If yes, do you feel that you, your family member, or close friend was treated fairly by the
      government agency involved?
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________




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37.      Have you or has a family member or close friend ever been subpoenaed to be a witness, or
testified as a witness in any court proceeding or criminal case?
Yes ___     No ___
If yes, please explain:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________



38.    Have you, a family member or close friend ever been arrested, charged, prosecuted or
convicted of any crime other than a traffic ticket?
Yes ___     No ___
If yes, please explain who (in relation to you), when, and what happened:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________

If yes, do you feel that you, your family member, or close friends was treated fairly?
Yes ___     No ___




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39.    Have you, a family member or close friend ever been the subject of any other kind of law
enforcement investigation or administrative enforcement proceeding?
Yes ___     No ___
      A. If yes, please describe the subject matter of the investigation, the government agency
         involved, and the outcome.
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
      B. Do you feel that you, your family member, or close friend was treated fairly by the
         government agency involved?
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


40.    Apart from jury service, have you ever been involved in any legal proceeding, in any
capacity, for example as a plaintiff, defendant, victim, lawyer, witness, or expert?
Yes ___ No ___
   A. If yes, please state when and explain why you appeared in court:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
   B. If yes, did the legal process in that instance operate fairly in your opinion?
______________________________________________________________________________
______________________________________________________________________________


                 CRIMINAL JUSTICE SYSTEM & LEGAL PRINCIPLES
41.    The judge will instruct you that the charges in this case include: obstruction of an official
proceeding, making false statements, and witness tampering. Is there anything about the charges
which would affect your ability to be fair?
Yes ___     No ___




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42.      Jurors are the sole judges of the facts. However, the jury must follow the principles of law
as instructed by the judge. The jury may not follow some rules of law and ignore others. Even if
the jury disagrees or dislikes the rules of law or does not understand the reasons for some of the
rules, it is their duty to follow them. Do you have any personal beliefs that would make it difficult
to follow the Court’s legal instructions, whatever they may be?
Yes ___     No ___


43.    Is there anything about this case, the issues, and/or the people involved in this case or any
other reason you could not be completely fair to the defendant, Roger Stone, and the U.S.
Government in this case?
Yes ___     No ___

                                 CONCLUDING QUESTIONS
44.      If, during the course of jury deliberations, a fellow juror should suggest that you disregard
the law or the evidence and decide the case on other grounds, would you, as a juror, be able to
reject that suggestion and abide by your oath to this court to decide the case solely on the evidence
and law as the court has instructed you to do, without regard to sympathy, bias or prejudice?
Yes ___      No ___


45.     Do you have any personal reason for wanting to serve as a juror in this case, or any personal
interest in the outcome of the case? Yes ___   No ___
If yes, please explain:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________




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46.     Did you or any of your immediate family members donate any money to any of the
candidates running for President in the 2016 election? 2020 Presidential election?
Yes ___     No ___
If yes, please list the candidate, date and amount:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________

The government objects to this question. Questions about the political affiliations of
prospective jurors are improper. Connors v. United States, 158 U.S. 408, 414 (1895) (holding
that the trial court “correctly rejected the question put to the juror…as to his political
affiliations”); United States v. Goland, 959 F.2d 1449, 1454 (9th Cir. 1992) (holding that
district court did not abuse its discretion in refusing to ask prospective jurors about political
affiliation); United States v. Jewell, 2008 WL 400938, at *4 (rejecting proposed question for
juror questionnaire “asking about jurors’ political opinions”).


47.     Is there anything you prefer to discuss privately with the judge (including your responses
to particular questions) or is there any matter not covered by this questionnaire that might affect
your ability to serve as an impartial juror in this case?
Yes ___     No ___
If yes, please indicate the question number or the issue you would like to discuss with the
judge here:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________

                                       CERTIFICATION
By signing below, I hereby declare under penalty of perjury that all of the answers to the above
questions are true and correct to the best of my knowledge and belief. I have not discussed my
answers with others, or received assistance in completing the questionnaire. I have answered all
of the above questions myself.


___________________________           _____________________________           _______________
Signature                             Print your full name here                    Date


Juror Number _______

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